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                                                                                                    United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                           ENTERED
                                                                                                       September 30, 2022
                               UNITED STATES BANKRUPTCY COURT
                                                                                                        Nathan Ochsner, Clerk
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION


    IN RE:                                                           Case No. 22-60034

    FREE SPEECH SYSTEMS, LLC,                                        Chapter 11

             DEBTOR.                                                 (Subchapter V Debtor)


         ORDER ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION
         AND REIMBURSEMENT OF EXPENSES OF RETAINED PROFESSIONALS



           This matter coming before the Court on the Debtor’s Motion for an Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Retained Professionals

(the “Motion”),1 filed by Free Speech Systems, LLC (the “Debtor”); the Court having reviewed

the Motion and having considered the statements of counsel with respect to the Motion at a hearing

before the Court (the “Hearing”); the Court finding that (a) the Court has jurisdiction over this

matter pursuant to 28 U.S.C. §§ and 1334, (b) venue is proper in this district pursuant to 28 U.S.C.

§ 1409, (c) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), (d) notice of the Motion

and the Hearing was sufficient under the circumstances and (e) the Compensation Procedures set

forth below are reasonable and appropriate for this Chapter 11 Case; and the Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein;

           IT IS HEREBY ORDERED THAT:

           1.       The Motion is GRANTED.



1
    Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.



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       2.      Except as otherwise provided in an order of the Court authorizing the retention of a

particular professional, the professionals specifically retained pursuant to an order of the Court in

the Chapter 11 Case and the subchapter v trustee and her professionals (collectively, the “Retained

Professionals”) may seek interim payment of compensation and reimbursement of expenses in

accordance with the following procedures (collectively, the “Compensation Procedures”):


            a. Each Retained Professional seeking monthly compensation must submit a monthly
               fee statement (a “Monthly Fee Statement”), which submission may be via hand
               delivery, overnight courier, first class mail or e-mail, so as to be received no later
               than 30 days after the end of the month for which the fees are sought, to the
               following parties (collectively, the “Notice Parties”):

                     i. The Debtor, the Chief Restructuring Officer of FSS, at the address
                          indicated in this Court's docket;
                    ii.   The Debtor’ Counsel, Law Offices of Ray Battaglia, PLLC, 766 Granburg
                          Circle, San Antonio, Texas 78218 (Attn: Ray Battaglia,
                          rbattaglialaw@outlook.com);
                   iii.   Ha Minh Nguyen, Office of the United States Trustee, 515 Rusk St. Ste
                          3516, Houston, TX 77002 (ha.nguyen@usdoj.gov);
                   iv.    Melissa Anne Haselden, Haselden Farrow PLLC, Pennzoil Place, 700
                          Milam, Suite 1300, Houston, TX 77002
                          (mhaselden@haseldenfarrow.com); and
                    v.    Any other parties that the Court may designate.

            b. Unless otherwise provided in the order authorizing the Retained Professional’s
               retention, each Retained Professional’s Monthly Fee Statement, in accordance with
               Local Bankruptcy Rule 2016-1, shall include (i) a monthly invoice with fee and
               expense detail that describes the fees and expenses incurred by such Retained
               Professional and (ii) any additional information required by the Local Bankruptcy
               Rules, the Bankruptcy Rules, the Court, or applicable law.

            c. Time spent traveling without actively working on the Chapter 11 Case shall be
               billed at 50% of the professional’s normal hourly rate.

            d. Any Retained Professional who fails to submit a Monthly Fee Statement for a
               particular month or months may subsequently submit a consolidated Monthly Fee
               Statement for multiple months provided that separate fee and expense information
               for each applicable month is provided in the consolidated statement.

            e. All Monthly Fee Statements shall comply with the Bankruptcy Code, the
               Bankruptcy Rules, the Local Bankruptcy Rules, and applicable law.

            f. Each Notice Party will have 14 days
                                               3 after service of a Monthly Fee Statement to
               object to such statement (the “Objection Deadline”). Upon the expiration of the
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     Objection Deadline, the Debtor will be authorized to pay each Retained
     Professional an amount (the “Authorized Payment”) equal to the lesser of (i) 80%
     of the fees and 100% of the expenses requested in the Monthly Fee Statement (the
     “Maximum Payment”) and (ii) the aggregate amount of fees and expenses not
     subject to an unresolved objection pursuant to paragraph 2(g) below.

  g. If any Notice Party objects to a Retained Professional’s Monthly Fee Statement, it
     must serve on the affected Retained Professional and each of the other Notice
     Parties a written objection (the “Objection”) so that it is received on or before the
     Objection Deadline. Thereafter, the objecting party and the affected Retained
     Professional may attempt to resolve the Objection on a consensual basis. If the
     parties are unable to reach a resolution of the Objection within 14 days after service
     of the Objection, or such later date as may be agreed upon by the objecting Notice
     Party and the affected Retained Professional, the affected Retained Professional
     may either: (i) file a response to the Objection with the Court, together with a
     request for payment of the difference, if any, between the Maximum Payment and
     the Authorized Payment made to the affected Retained Professional (the
     “Incremental Amount”) and schedule such matter for hearing on at least 14 days’
     notice; or (ii) forego payment of the Incremental Amount until the next interim or
     final fee application hearing, at which time the Court will consider and dispose of
     the Objection if requested by the affected Retained Professional. Failure by a
     Notice Party to object to a Monthly Fee Statement shall not constitute a waiver of
     any kind nor prejudice that Notice Party’s right to object to any Interim Fee
     Application (as defined below) subsequently filed by a Retained Professional.

  h. Following the Objection Deadline, each Retained Professional that has not already
     submitted an electronic bill to the Debtor shall email to
     account@freespeechsytems.com an invoice reflecting amounts then payable
     pursuant to paragraph 2(f) above to the Debtor’s e-billing system in .PDF format
     (or in such other format reasonably requested by the Debtor).

  i. Each Retained Professional may submit its first Monthly Fee Statement on or before
     September 15, 2022 and such Monthly Fee Statement shall be for the period from
     July 29, 2022 through and including August 31, 2022.

  j. Commencing with the four-month period ending November 29, 2022, and at four-
     month intervals thereafter (each, an “Interim Fee Period”), each of the Retained
     Professionals will file with the Court and serve on the Notice Parties an application
     pursuant to sections 330 and 331 of the Bankruptcy Code (an “Interim Fee
     Application”) for interim Court approval and allowance of the compensation and
     reimbursement of expenses sought by the Retained Professional in its Monthly Fee
     Statements for the applicable Interim Fee Period, including: (i) any revisions to the
     fee detail previously submitted with a Monthly Fee Statement; (ii) any consensual
     resolution of an Objection to one or more Monthly Fee Statements; and (iii) any


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     difference between any amounts owed to the Retained Professional and the
     Authorized Payments made with respect to the Interim Fee Period. Retained
     Professionals also will file a notice of opportunity for hearing in accordance with
     Local Bankruptcy Rule 9013-1(d), which shall be served on the Notice Parties and
     all parties that have filed a notice of appearance with the Clerk of this Court and
     requested such notice. To the extent practicable, all Interim Fee Applications will
     be noticed together to be heard on the same hearing date and with the same
     objection deadline.

  k. Interim Fee Applications must be filed on or before the 40th day after the end of the
     Interim Fee Period for which the application seeks allowance of fees and
     reimbursement of expenses. An Interim Fee Application must include a basic
     summary of the Monthly Fee Statements that are the subject of the request and any
     other information requested by the Court or required by the Bankruptcy Rules and
     the Local Bankruptcy Rules. A Retained Professional filing an Interim Fee
     Application shall comply with the applicable provisions of the Bankruptcy Code,
     the Bankruptcy Rules, the Local Bankruptcy Rules, and applicable law.

  l. The first Interim Fee Application must be filed on or before December 10, 2022 for
     the Interim Fee Period from July 29, 2022 through November 29, 2022. Any
     objections to an Interim Fee Application (an “Additional Objection”) shall be filed
     with the Court and served upon the affected Retained Professional and the Notice
     Parties so as to be received on or before the 14th day (or the next business day if
     such day is not a business day) following the filing and service of the Interim Fee
     Application, which service may be via e-mail, hand delivery, overnight courier or
     first class mail. If no Objections are pending and no Additional Objections are
     timely filed, the Court may grant an Interim Fee Application without a hearing.
     Upon allowance by the Court of a Retained Professional’s Interim Fee Application,
     the Debtor shall be authorized to promptly pay such Retained Professional all
     requested fees and expenses not previously paid (including any Incremental
     Amount).

  m. Upon allowance by the Court of a Retained Professional’s Interim Fee Application,
     with or without a hearing, Retained Professionals shall email to
     account@freespeechsytems.com an invoice reflecting all allowed, requested fees
     and expenses not previously paid (including any Incremental Amount) to the
     Debtor’s e-billing system in .PDF format (or in such other format reasonably
     requested by the Debtor). For the avoidance of doubt, Retained Professional shall
     not be required to include in such invoices fee and expense detail or other
     information already submitted to the Notice Parties in connection with Monthly Fee
     Statements or otherwise.

  n. The pendency of an Objection or Additional Objection or the entry of a Court order
     holding that the prior payment of compensation or the reimbursement of expenses


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               was improper as to a particular Monthly Fee Statement will not disqualify a
               Retained Professional from the future payment of compensation or reimbursement
               of expenses as set forth above, unless the Court orders otherwise.

            o. There will be no penalties for failing to file a Monthly Fee Statement or an Interim
               Fee Application in a timely manner; provided, however, that if any Interim Fee
               Application covers more than a four-month period, the Bankruptcy Administrator
               shall have an additional 14 days beyond the period set forth in paragraph 2(l) above
               to file an Additional Objection.

            p. Neither (i) the payment of or the failure to pay, in whole or in part, interim
               compensation and reimbursement of expenses under the Compensation Procedures
               nor (ii) the filing of, or failure to file, an Objection to any Monthly Fee Statement
               or an Additional Objection to any Interim Fee Application will bind any party in
               interest or the Court with respect to the final applications for allowance of
               compensation and reimbursement of expenses of Retained Professionals.

            q. Any Notice Party may request that a Retained Professional deliver a Monthly Fee
               Statement or an Interim Fee Application in an electronically searchable format
               mutually acceptable to the parties.

       3.      Notice given in accordance with the Compensation Procedures is deemed sufficient

and adequate and in full compliance with the applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules and the Local Bankruptcy Rules.

       4.      The Debtor is authorized and empowered to take all actions necessary to implement

the relief granted in this Order.

       5.      This Court shall retain exclusive jurisdiction over all matters arising from or related

to the implementation, enforcement or interpretation of this Order.

Houston, Texas
Dated:                   , 2022

             August 02,
             September  2019
                       30, 2022                   UNITED STATES BANKRUPTCY JUDGE




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